Case 1:21-cv-20592-NLH-AMD Document 17 Filed 12/16/22 Page 1 of 3 PagelD: 239

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Civil Action. No. 1:21-cv-20592-NLH-AMD
H.V. and F.J., individually and on behalf of

their minor child, A.T.V., Document electronically filed
Plaintiffs,

VS.

VINELAND CITY BOARD OF CERTIFICATION OF

EDUCATION, VINELAND HIGH SCHOOL, H.V.

MARY GRUCCIO, SUZETTE DEMARCHI,
JOHN PROVENZANO, ARIES RIVERA and
JOHN DOE 1-30 (fictitious names of
unidentified individuals, entities or business
organizations) jointly, severally and in the
alternative,

Defendants.

I, H.V., of full age, hereby certify as follows:

1. lama plaintiff in the above matter. I am the biological father of my daughter, the
plaintiff, A.T.V. To protect my daughter’s privacy, I have been advised by my attorney,
Bruce H. Zamost, that he will file this certification, utilizing my initials only and that the
identical certification, with my full name, will be mailed to the court separately and not
electronically filed. The mailed certification will also contain a copy of both sides of my

New Jersey driver’s license.

Case 1:21-cv-20592-NLH-AMD Document17 Filed 12/16/22 Page 2 of 3 PagelD: 240

2. I was born on January 30, 1981 in Puerto Rico. When I was about five years old, I
moved with my parents to New Jersey. At that time, my father was employed with the
Federal Aviation Administration as an electrical engineer.

3. [have resided in New Jersey continuously since the age of five. Apart from Puerto Rico
from birth to about age five, I have never resided anywhere except in New Jersey.

4. Since the age of eight, I have resided with my parents in Vineland, New Jersey in a
house owned by my parents.

5. At the age of sixteen, I obtained a New Jersey driver’s license and have held that license
continuously since then. I have never held a driver’s license from any other state or
commonwealth.

6. lL obtained my GED diploma from Vineland High School in Vineland, New Jersey in
2000 or 2001.

7. [have been registered to vote in New Jersey and I have regularly voted in New Jersey
elections every year in which a ballot issue was present since I was age eighteen.

8. I filed both federal and New Jersey tax returns as a declared resident of New Jersey
every year since about 2008, including for the tax years 2019 and 2020. I am in the
process of preparing my tax returns for the 2021 tax year to similarly file as a declared
New Jersey resident.

9. 1 was not employed in 2019 nor in early 2020. From about March 2020 through March
2021, I was an online student enrolled in a cybersecurity and information technology
course with mycomputercareer.com.

10. Since January 2020, I have been employed as a field manager with a construction

company in Bellmawr, New Jersey.

Case 1:21-cv-20592-NLH-AMD Document 17 Filed 12/16/22 Page 3 of 3 PagelD: 241

11.

12.

LB,

14,

15.

Since the age of sixteen and continuously, I have been a member of the Assembly of
God Church at 2554 East Chestnut Avenue in Vineland, New Jersey. My father has
been a deacon at that church since about 2010.

I currently reside with my parents and A.T.V. in the same Vineland, New Jersey single-
family house in which I was raised. In about 2016, I acquired a dog, which I named
Sassy. Sassy lived with me at my residence in this single-family house until Sassy died
in early 2020.

I have been advised that that the defendants in this matter filed a petition on December
20, 2021, seeking removal of this case from the New Jersey Superior Court to the United
States District Court, District of New Jersey.

At all times in 2021, I considered myself to be domiciled in New Jersey.

At all times since I moved with my parents to New Jersey at about age five in about

1986, I have considered myself to be domiciled in New Jersey.

I hereby certify that the foregoing statements made by me are true. I am aware that if the

statements are not true, I am subject to punishment.

Lh

H.V:

Dated: December 15, 2022

